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Community Legal Services in East Palo Alto; (see attachment)                     United States Department of Health and Human Services; (see attachment)

                                            San Mateo County

                                                                                                                           (   nown)

Alvaro M. Huerta (see attachment)
                                         (Place an “X” in One Box Only)

                                      (U.S. Government Not a Party)
                                                                                 5 U.S.C. § 702
                                                                                                       Violation of Administrative Procedure Act
                                 (Place an “X” in One Box Only)




                  (Place an “X” in One Box Only)




          03/26/2025
                                                                                                          /s/ Alvaro M. Huerta
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Additional Plaintiffs:
Amica Center For Immigrant Rights; Estrella Del Paso; Florence Immigrant and Refugee Rights
Project, Galveston-Houston Immigrant Representation Project; Immigrant Defenders Law
Center; National Immigrant Justice Center; Northwest Immigrant Rights Project; Rocky
Mountain Immigrant Advocacy Network; Social Justice Collaborative; Vermont Asylum
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